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                             UNITED STATES DISTRICT CO URT
                             SO UTHERN DISTRICT O F FLO RIDA

                      CASE NO.13-14047-CR-MARTINEr LYNCH(s)(s)(s)
   UNITED STATES OF AM ERICA,
         Plaintiff,
   V.                                                             FILEDby                D.C.
  ANTHO NY ISAAC JO HNSON,
                                                                     N0V -5 2911
         Defendant.
                                                                     STEMEN M LARIMORE
                                         I                          s.CLCRKud.Dlsmcm
                                                                      D.oFFL/.-Fu:plERcE
                       REPO RT AND RECO M M ENDATIO N ON
                  APPRO PRIATENESS O F CO UNSEL'S CJA VO UCHER
                      FOR ATTORNEY'S FEES W OUCHER #FLS 13-1041)
         THIS CAUSE having com e on to be heard upon the aforem entioned CJA Voucher

   as referred by the District Court and this Court having reviewed the voucher of M r,

   Rodriguez,his Ietterofexplanation attached thereto as wellas the tim e records and other
   documentation,and this Courtotherw ise being advised inthe prem ises recom m endstothe

   DistrictCoud asfollows:

                The CJA Administratorhasadjusted the hours and amounts setforth in the
   CJA Vouchersubm itted by counselforthe Defendant. The Adm inistratorhas adjusted
  these to correctly reflectthe tim e devoted to eachtaskand the applicable hourl
                                                                                y rate which
  varied during the time thatthe Defendantwas represented by M r.Rodriguez.

         2.     Based upon these adjustments,the CJA Voucherseeks reimbursementof
  7.0 hoursofin-courttime totaling $802.00.The voucherseeks reim bursementofout-of-
  courttime of114.1 hours totaling $13,259.80. Therefore,the totalamountofattorney's
  feessoughtasadjustedbytheClAAdm inistratoris$14,061.8owhichexceedsthestatutory
  capof$9,800.00.ThisCoud notesthattravelexpensesintheamountof$802.75together
  with otherexpenses in the amountof$164.05 are listed on the voucheras well. There
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   appears to be sufficientreason to have incurred those expenses and the docum entation

   appears to be sufficientto suppod the requestforreim bursem entofthose two categories

   ofexpenses.Therefore,this Coud w illaddress only the attorney's fees issues further.
          3.     Mr.Rodriguez attaches a Ietterofexplanationto the Courtexplaining why his
   voucherexceeds the statutorycap.ThisCourthas reviewed hisvoucher, the attachm ents,

   aswellas his Ietter.Asthis Courthasstated in respectto othervouchers subm itted forco-

   defendants in this case,there were no evidentiary hearings in this case. There were no

   extended hearings ofany type. Representation by Mr.Rodriguez began in Novem berof

   2013 and culm inated in Septem berof2014. The Defendantentered a change of plea

   before thisCourton May9,2014.This Courtissued its Reportand Recom mendationto the

   DistrictCourtin respectto thatchange ofplea. The Defendantw as thereaftersentenced

   by the DistrictCourton oraboutAugust26,2014.

         4.     This is an adm inistrative decision as opposed to an adversarialproceeding

   asdelineated in UnitedStatesv.Griggs,240F.3d974 (11thcir.2001).Additionally,itisnot
   necessaryforthis Courtto conductan evidentiary hearing since this Courtconducted aIIof

   the pretrialproceedings including the Defendant's change ofplea hearing as referenced

   above.

         5.     The attorney's fees soughtby Mr.Rodriguez exceed the statutory cap of

   $9,800.00 as recently adjusted in 18 U.S.C.j3006A(d)(3). Therefore,this Courtmust
   determinewhetherthere issufficientjustificationtowaive orexceedthatstatutorycap.In
   doing so,this Courtm ustdeterm ine ifthe m atterwas d'extended''or''com plex''as defined

   in the statute and the applicable case Iaw ,




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         6.      W hile the underlying charges againstthe Defendantin this case were ofa

   very serious nature,thatin and ofitselfdoes notresultin the case being classified as

   ''com plex''and/or'extended'
                              'as defined in the case Iaw which this Courtm ustfollow . As
   this Courthas previouslystated in respectto otherCJA vouchers subm itted by counselfor

   co-defendants,this Courtdoes notdispute thatthere m ayhave beenvolum inousdiscovery

   in this case and som e issues w hich had to be resolved at the tim e of sentencing.

   Nevertheless, those issues do not raise this case to the Ievelof being ''com plex''or

  ''extended.'

                 ThisCoud rem ainsguided bythedefinitionspreviouslyestablished concerning

  whatis considered to be l'com plex''or'dextended.' An ''extended''case is one requiring
   more tim e than norm alundersim ilarfacts and circum stances.A ''com plex''case is defined

   asone involving factsso unusualastojustifytheexpenditure ofmoretime,skillandeffort
  than a normalcase.See Eason v.United States,2010 W L 5575741 (S,D.Fla.2010)and
   United Statesv.Moreira,2009 W L 362095 (S.D.Fla.2009).
         8.      This Court cannot in good faith find this case to be either''extended''or

  d'com plex.''The case proceeded in a normalfashion.As referenced herein,there were no

  extensive hearings norevidentiaryissues decided by this Courtnorthe DistrictCourt.The
  case w as resolved by way ofentry ofguilty pleas by the Defendantpursuantto a written

  plea agreem ent. Therefore,this Court finds that this case does not qualify as either

  extended orcom plex as setforth in the guidelines this Courtis required to follow.

         9.      As always,this Courtappreciates the w illingnessofM r.Rodriguez and other
  com petentcounselto offertheirservices to the Courtforappointm entunderthe Crim inal

  Justice Actw hen there is conflictwith the FederalPublic Defender. In reviewing CJA


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   vouchers,this Coud m ustperform a gatekeeperfunction to balance the entitlem entofa
   particulardefendantto com petent representation and the ability ofthe courtappointed

   counselto be fully com pensated. However,this Coud m ustbalance the rightof court

   appointed counselto receive adequate com pensation forsuchrepresentationto an indigent

   defendant,fully m indfulthat there are Iim ited CJA funds available in this District and
   nationwide forpaym entofsuch services.Congress has seen fitto reduce the am ounts of

   funds fordefenderservices nationwide overthe pastseveralyears, including funds for

   paym ent of Crim inalJustice Act conflict counsel. This Court m ust m ake certain that

   defensecounselisadequatelycom pensated,even ifitdoes notrepresentfullcom pensation
  for services rendered. Additionally,this Court m ust m ake cedain that such am ounts

  exceeding the statutorycap as requested herein by Mr.Rodriguezare notpaid unlessthere

   is sufficientjustification underthe applicable case Iaw and statutory framework which
  governs this Coud's review ofsuch m atters.

         10.    lfthis Court,and othercourts,did notprovide this gatekeeperfunction,the

   im pacton the availabilityofCJA funds to indigentdefendants in the future would be m uch
  m ore severe than itis underthe presentbudgetary constraints,

                In reducing the am ount sought by M r.Rodriguez to the statutory cap of

  $9,800.00plustraveland otherexpenses,thisCourtisnotquestioninginanywaythetasks
  perform ed northe time devoted to those tasks. This Courtis required to m erely make a

  determ inationthatunderthe statutoryfram eworkanddefinitionsw hichthisCourtisrequired

  to follow,that this case does not m eetthe definitions of either being ''extended''nor
  ''com plex.'' By doing this,this Coud is hoping to m ake certain thatin the future there will

  be fundsavailableforotherindigentdefendantswho have notyetbeen arrested orcharged.


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   In otherwords,courts cannotdeplete aIIofthe defenderservices as we go along and then
   try to figure outa w ay to com pensate counselforthose otherindigentdefendants in the
   future who willalso need courtappointed counsel.

         12. Asa resultoftheforegoing findings,M r.Rodriquez'recoveryofattorney'sfees

   is Iimited to the statutorycap of$9,800.00 plustravelexpenses inthe amountof$802.75
   and otherexpensesinthe amountof$164.05,fora totalsum of$10,766.80.
         ACCORDING LY,this Courtrecom m endsto the DistrictCourtthatthe CJA Voucher

  #FLS 13-1041 be G RANTED insofaras M r.Rodriguez be awarded the statutorym axim um

   of$9,800.00 asreasonable attorney'sfeestogetherwithtravelexpensesinthe amountof
  $802.75and otherexpenses inthe amountof$164.05,fora totalsum of$10,766.80.
         The parties shallhave fourteen (14) days from the date of this Report and
  Recommendationwithinwhichtofileobjections,ifany,withtheHonorableloseE.Madinez,
  the United States District Judge assigned to this case, Pursuantto FederalRules of

  CriminalProcedure,Rule 59(b)(2),failure to file objectionstimelywaivesa party's rightto
  review and bars the parties from attacking on appealany Iegalrulings and factualfindings
  contained herein.

         DO NE AND SUBM ITTED this         Z'
                                            W '-- dayofNovember, 2014,atFortPierce,
  Northern Division ofthe Southern DistrictofFlorida.




                                          F      .LYN ,JR.
                                          UNITED     ES  G ISTRATE JUDGE
  Copies furnished:
  Hon.Jose E.M artinez
  Valentin Rodriguez,Esq.
  Lucy Lara,CJA Adm inistrator

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